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                         UNITED STATESDISTRICTCOURT
                                          CTOFLOUISIANA
                         :i:-:lY   :-l':TRI
MELVA CORDOVA.
an individual.                                CASENO.:

            Plaintiff,
                                              Judge:


                                              Magistrate:

ABC AGENCY NETWORK, INC.; and,
KHAN CENTERINC.



            Defendant.


                                    COMPLAINT

                                                          counsel,herebyfiles this
      Plaintiff, MELVA CORDOVA,by andthroughher undersigned

Complaintand suesABC AGENCY NETWORK, INC. ("ABC") and KHAN CENTER INC.

("KHAN") (referredto collectivelyas 'DEFENDANTS"),for declaratoryand injunctiverelief,

attomeys'fees,andcostspursuantto the Americanswith DisabilitiesAct,42 U.S.C.$ 12181er

seq.,andalleges:

                           JURISDICTION AND PARTIES

1.    This is an action for declaratoryand injunctive relief pursuantto Title III of the

      AmericansWith DisabilitiesAct,42 U.S.C.512181et seq.(hereinafter
                                                                    referredto asthe
      .ADA'). This Courtis vestedwith originaljurisdictionpursuantto 28 U.S.C. 1331and
                                                                             $

      1343.

2.    Venueis properin this Courtpursuantto 28 U.S.C.S 1391(b).

3.    Plaintiff, MELVA CORDOVA, (hereinafterreferred to as "MS. CORDOVA"), is a
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      residentof JeflersonParish,Louisiana.

4.    MS. CORDOVA is a qualified individual with a disability under the ADA.          MS.

      CORDOVAis affectedwith paraplegia.

5.    Due to her disability, MS. CORDOVA is substantiallyimpairedin severalmajor life

      activitiesandrequiresa wheelchairfor mobility. Specifically,MS. CORDOVAis unable

      to walk, stand,or useher legswithoutassistance.

6.    Upon information and belief, KHAN is a corporationincorporatedin the State of

      Louisianaandhavingthe domicileof 4841FolseDrive,Metairie,Louisiana,70006.

7.    Uponinformationandbelief,ABC is a corporationincorporatedin the Stateof Louisiana

      andhavingthedomicileof 4670I-49ServiceRoad,Opelousas,
                                                         Louisiana,70570.

8.    Upon information and belief, ABC is doing businessunder the trade name ABC

      INSURANCEAGENCIES.

9.    Upon information and belief, DEFENDANTSare the owners,lessors,lesseesand/or

      operatorsof the real propertiesand improvementswhich is the subjectof this action,to

      wit: Khan Plaza generallylocated at 3939 VeteransBoulevard,Metairie, Louisiana,

      70002.

10.   DEFENDANTSareobligatedto complywith theADA.

ll.   All eventsgiving rise to this lawsuit occurredin the EasternDistrict of Louisiana"

      JeffersonParish,Louisiana.
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                    COUNT I - VIOLATION OF TITLE III OF THE
                         AMERICANS WITH DISABILITIES ACT

12.   MS. CORDOVA reallegesand reaversParagraphs1 - 1l as if they were expressly

      restatedherein.

13.   The Propertyis a placeof public accommodation,
                                                  subjectto the ADA, generallylocated

      at: at3939VeteransBoulevard.Metairie"Louisiana"70002.

14.   MS. CORDOVA hasvisitedthe Propertynumeroustimes andplansto visit the Property

      againin the nearfuture.

15.   Duringthesevisits,MS. CORDOVAexperienced                         the goods
                                             seriousdifficulty accessing

      and utilizing the servicestherein due to the architecturalbarriers as discussedin

      paragraph18of this Complaint.

16.   MS. CORDOVA continuesto desireto visit the Property,but continuesto experience

      seriousdiffrculty dueto the barriersdiscussed
                                                  in Paragraph18which still exist.

L7.   MS. CORDOVA intendsto andwill visit the Propertyto utilize the goodsandservicesin

      the future, but fears that he will encounterthe samebarriersto accesswhich are the

      subjectsof this action.

18.   DEFENDANTSarein violationof 42 U.S.C.S 12181et seq.and28 C.F.R.$ 36.302et

      seq. and are discriminatingagainstMS. CORDOVA due to, but not limited to the

      following violations which MS. CORDOVA personallyobservedand/or encountered

      which hinderedher access:

                    A.      There is no accessibleroute from the public sidewalksto the

                            facility's entrance;
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                    B.     Thereis no rampleadingto SecondServeTennisCenter;

                    C.     Thereis no rampleadingto B.C. KitchenandBath;

                    D.     The disabledparkingspacesat the facility are improperlymarked

                           andhaveimproperaccessaisles;

                    E.     Thereis no van accessible
                                                   parkingspacesat the facility;

                    F.     The thresholdat the doorwayleadinginto ABC's facility exceeds

                           the maximumallowableheight;

                    G.     The thresholdat the doorwayleadinginto Parran'sPo-Boysfacility

                           exceedsthe maximumallowableheight;

                    H.     The disabledparking spacesat the facility contain an excessive

                           slopeandcross-slope;
                                             and,

                    I.     Thereare curb cuts at the facility that do not havelevel landings

                           and/or contain excessiveslopes and fail to provide a smooth

                           transitionwherethe rampsconnectwith the sidewalkandroadway.

19.   Furthermore,DEFENDANTS continueto discriminateagainstMS. CORDOVA, and

      others similarly situated, by failing to make reasonablemodifications in policies,

      practices or procedures,when such modifications are necessaryto provide MS.

      CORDOVA an equalopportunityto participatein, or benefit from, the goods,services,

      facilities,privileges,advantages,
                                     and accommodations
                                                      which DEFENDANTSoffers to

      the generalpublic; andby failing to takesucheffortsthat may be necessary
                                                                             to ensurethat

      no individual with a disability is excluded,denied services,segregated,
                                                                            or otherwise

      treateddifferently than other individualsbecauseof the absenceof auxiliary aids and
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        services.

 20.    To date,all barriersto accessandADA violationsstill exist andhavenot beenremedied

       or alteredin sucha way asto effectuatecompliancewith the provisionsof theADA, even

       thoughremovalis readilyachievable.

21.    Removal of the discriminatorybarriersto accesslocated on the Propertyis readily

       achievable,reasonablyfeasible,and easilyaccomplished,
                                                           and would not placean undue

       burdenon DEFENDANTS.

22.    Removal of the ba:riers to accesslocated on the Property would provide MS.

       CORDOVA an equalopportunityto participatein, or benefitfrom, the goods,services,

       andaccommodations
                       which DEFENDANTSoffersto the generalpublic.

23.    Independentof her intent to return as a patron to the Property, MS. CORDOVA

       additionallyintendsto return as an ADA testerto determinewhetherthe barriersto

       accessstatedhereinhavebeenremedied.

25.    MS. CORDOVA hasbeenobligatedto retainthe undersignedcounselfor the filing and

       prosecutionof this action. MS. CORDOVAis entitledto haveher reasonable
                                                                            attorneys'

       fees,costs,andexpenses
                            paidby DEFENDANTS,pursuantto 42 u.S.c. S 12205.



       WHEREFORE, MS. CORDOVA demandsjudgment against DEFENDANTS, and

requeststhe following injunctiveanddeclaratoryrelief:

       A.     That this Court declarethat the Property owned, leasedand/or operatedby

             DEFENDANTSis in violationof theADA;

       B.    That this Court enteran OrderdirectingDEFENDANTSto alter the facility to
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     makeit accessible
                     to anduseableby individualswith disabilitiesto the full extent

     requiredby Title III of the ADA;

C.   That this Court enter an Order directing DEFENDANTS to evaluateand

     neutralize their policies, practices, and procedurestowards persons with

     disabilities for a reasonableamount of time, allowing implementationand

     completionof correctiveprocedures;

D.   That this Court award reasonableattorneys'fees, costs(including expertfees),

     andotherexpenses
                    of suit,to MS. CORDOVA;and

E.   Thatthis Court awardsuchotherandfurtherrelief as it deemsnecessary,
                                                                      just and
     proper.

                                        RespectfullySubmitted,

                                        THE BIZER LAW FIRM
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